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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

NICE SYSTEMS, INC., a Delaware Corporation, and
NICE SYSTEl\/IS, LTD., an Israeli Corporation,

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1 Plaintiffs, )
v. ) Civil Action No. 06-31 l-JJF

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WITNESS SYSTEMS, lNC, a Delaware Corporation,

Defendant.

CLAIM CONSTRUCTION REFERENCE TABLE

Plaintiffs Nice Systems, Inc., and Nice Systems, Ltd. (collectively “NICE”)
hereby submit the attached Claim Construction Reference Table, Which refers, in its three
right-hand columns, to NICE’s Opening and Responsive Claim Construction Briefs [D.I.
151 and 168], and to NICE’s presentation slides submitted during the l\/larkman Hearing
held on June 26, 2007. For the convenience of the Court, NICE’s submission
incorporates Defendants’ Clairn Construction Reference Table [D.I. 184] in its entirety,
including Witness’ footnotes, as drafted by Witness.

Where the parties’ Amended Joint Claim Construction Chart [D.l. 128] separately
lists multiple iterations of a single disputed term Without substantial phrasing differences,
NICE has proposed the same construction for all iterations and lists only one iteration of
the term in this table and in its briefs and presentations Nevertheless, the same
arguments apply With equal force to all iterations of the disputed terms, and the Court
should adopt NICE’s proposed construction of the disputed term Where it appearsh

In addition, since the filing of the parties’ Amended Joint Clairn Construction

Chart on May lO, 2007 [D.l. 128], the parties have agreed to constructions of several

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disputed terms, identified in the Stipulation Regarding Agreed Claim Construction Terrns
[D.I. 183]. The footnotes in the attached Clairn Construction Reference Table contain the

parties’ agreed-upon constructions

 

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Attachment A

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CERTIFICATE OF SERVICE

l, Mary F. Dugan, Esquire, hereby certify that on June 27, 2007, I caused to be

electronically filed a true and correct copy of the foregoing document, Claim

Construction Reference Table, with the Clerk of the Court using CM/ECF, which will

send notification that such filing is available for viewing and downloading to the

following counsel of record:

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I further certify that on June 27, 2007, I caused a copy of the foregoing document

to be served by hand delivery on the above-listed counsel of record and on the following

non-registered participants in the manner indicated:

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